                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF WISCONSIN
                                     Court Minutes and Order
HEARING DATE:          October 18, 2023
JUDGE:                 Brett H. Ludwig
CASE NO.:              23-mc-0051
CASE NAME:             In re Mary Fanning
MATTER:                Motion Hearing
APPEARANCES:           Patrick S. Nolan, Julie M. Loftus, Michael Bloom, Attorneys for Plaintiffs
                       Smartmatic USA Corporation, Smartmatic International Holding B V, and
                       SGO Corporation Limited
                       William F. Mohrman, Attorney for Mary Fanning
                       Doug Wardlow, Attorney for Defendants Michael J. Lindell and My
                       Pillow Inc.

TIME:         9:05 a.m. – 9:56 a.m.
COURTROOM DEPUTY: Julie D.
              AUDIO OF THIS HEARING IS AT ECF NO. 22


       The Court summarized the case’s procedural history and the parties’ positions on two
pending motions: (1) Mary Fanning’s motion to quash subpoena or for protective order and (2)
Smartmatic’s motion to compel deposition testimony of Mary Fanning and for sanctions. (ECF
Nos. 1 & 2.) The parties first informed the Court that the judge in the parties’ main case has stayed
discovery in the proceedings through November 13, 2023. Counsel for Mary Fanning then updated
the Court on both his own and Ms. Fanning’s medical situations. Next, counsel for Smartmatic
acknowledged that it would make whatever reasonable accommodations were necessary to
complete Ms. Fanning’s deposition.
       The Court first recognized that the parties do not dispute that Ms. Fanning has material
testimony to offer and that she also has medical needs that warrant some consideration in
proceeding with her deposition. The Court made clear, however, that Ms. Fanning’s (and Mr.
Mohrman’s) doctors do not get a “veto” over whether she has to sit for a deposition. While their
medical expertise informs the situation, Ms. Fanning’s medical issues must be balanced against
Smartmatic’s right to gather evidence to support its claims. Ms. Fanning has an obligation to sit
for a deposition. Counsel agreed that they should be able to work together to accomplish the
deposition, subject to reasonable accommodations and consistent with any revised schedule
ordered in the main case.



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       Ultimately, the Court granted Ms. Fanning’s motion for a protective order, in part. The
Court ruled that Ms. Fanning was entitled to a protective order against being deposed on August
29, 2023, when she and her counsel were medically unavailable for the deposition. The Court
denied the motion to the extent Ms. Fanning seeks to condition her deposition going forward on
the approval of the doctors treating her and her counsel.
       The Court denied Smartmatic’s motion to compel Ms. Fanning’s deposition testimony but
did so without prejudice. Smartmatic may issue a new subpoena against Ms. Fanning. The Court
encouraged the parties to work together to determine what types of accommodations should be in
place to facilitate Ms. Fanning’s deposition, including selecting a more convenient and
comfortable location, taking the deposition over multiple days, providing more and longer breaks,
and/or allowing the witness to stand or sit and to change positions while being questioned.
       The Court expects Counsel to complete the deposition without further Court involvement.
The pending miscellaneous case will be kept open for ninety days in case the parties need
additional guidance. While hoping that further motion practice will be unnecessary, the Court
directed counsel to Civil Local Rule 7(h), which provides for expedited consideration of non-
dispositive motions.
       Finally, the Court declined to award fees or sanctions to either side. While Smartmatic’s
opening omnibus brief contained unhelpful, over-the-top rhetoric, the Court concluded it had not
crossed the line sufficient to warrant sanctions. The Court appreciates there is animosity among
counsel but cautioned counsel to show professionalism toward one another and in their filings with
the Court. Counsel are now on notice that further unprofessionalism will not be tolerated.
       Accordingly,
       IT IS HEREBY ORDERED that Mary Fanning’s motion to quash subpoena or for
protective order, ECF No. 1, is GRANTED in part and DENIED in part. Ms. Fanning is entitled
to a protective order against being deposed on August 29, 2023. The motion is denied in all other
respects.
       IT IS FURTHER ORDERED that Smartmatic’s motion to compel deposition testimony
of Ms. Fanning, ECF No. 2, is DENIED, without prejudice.
       IT IS FURTHER ORDERED that the Court will keep this miscellaneous case open for
ninety days in case the parties need additional guidance.




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      IT IS FURTHER ORDERED that Smartmatic’s motion for sanctions, ECF No. 2, is
DENIED.
      IT IS FURTHER ORDERED that Ms. Fanning’s motion for attorney’s fees and
sanctions, ECF No. 12, is DENIED.
      IT IS FURTHER ORDERED that the motions to restrict documents, ECF Nos. 11 & 17,
are GRANTED.

      Dated at Milwaukee, Wisconsin on October 19, 2023.
                                                s/ Brett H. Ludwig
                                                BRETT H. LUDWIG
                                                United States District Judge




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